Dear Director Benton,
The Attorney General is in receipt of your request for an opinion wherein you relate the following circumstances:
The Board of Corrections sought architectural firms to conduct therenovation of the Oklahoma State Reformatory. Five firms appeared beforethe Board at the January 29, 1979, meeting and presented theirproposals. During the presentation of each firm the others remainedexcluded from the meeting permitting each proposal to be presentedindependently similar to a "sealed bid" situation. At the conclusion ofall presentations, the individual firm members were permitted to returnto the Board meeting, at which time the Board members publicly cast andrecorded their votes selecting one firm for the renovation project.
Based on these circumstances you ask, in effect, the following question:
  Does the exclusion of competitors for a State contract during the presentation of their competitors to the State Board of Corrections in an otherwise public meeting violate the Open Meeting Act (25 O.S. 301 — 25 O.S. 314 (1977))?
The Board of Corrections is a "Public body" as defined in 25 O.S. 304(1); therefore, the Open Meeting Act is clearly applicable. 25 O.S. 302 (1977) sets forth the public policy on which the Open Meeting Act is grounded.
  "It is the public policy of the State of Oklahoma to encourage and facilitate an informed citizenry's understanding of the governmental processes and governmental problems."
The interest of a citizen of Oklahoma, protected by the Open Meeting Act, is the same whether he is competing for a State contract or not; and his acquiescence in his exclusion is irrelevant.
The exclusion of the competing architects at the January Board meeting does not fit within the executive session exception of 25 O.S. 307 (1977). Consequently, there is nothing in the Open Meeting Act which would sanction this procedure.
Therefore, it is the opinion of the Attorney General that the exclusionof competitors for a state contract from a meeting of the State Board ofCorrections violates the Open Meeting Act, 25 O.S. 301-25 O.S. 314(1977).
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
JOHN F. FISCHER II, ASSISTANT ATTORNEY GENERAL